Case 2:04-cv-02016-.]DB-dkv Document 55 Filed 05/13/05 Page 1 of 4 Page|D 60

IN THE UNITED sTATEs DISTRICT COURT FH'ED 55 ~ g 911
FoR THE wEsTERN I)ISTRICT oF TENNESSEE mt {_, o n m
WESTERN DIvIsIoN ~‘ 'F*' a =‘l~'l 41 fla

 

 

AMERICOACH TOURS, INC. individually, and as subrogee
of DISCOVER RE,

Plaintiff,
VS- No. : 04~2016- V

ESPAR, INC. and
MOTOR COACH INDUSTRIES, INC.

Defendants.

 

MORDER GRANTING THE MOTION OF AMERICOACH TOURS,
INC. TO CONSOLIDATE

 

This cause came to be heard upon the motion of plaintiff to consolidate the
current lawsuit with Americoach v. Detroit Diesel 'Coro., and Motor Coach Industn`es,
l_rLc_:;, cause number 05-2067 MaV, and order a scheduling conference in which new
deadlines maybe set. Based upon the motion of the defendants, the record as a Whole,
and for good cause shown, the court finds that the plaintiffs motion is well taken and
should be granted

WHEREFORE, it is ordered that plaintiffs' Motion to Consolidate is granted and a

scheduling conference will be set so that new deadlines maybe established for the

consolidated action.

ja
This the /3 day of Wd//i , 2005.

rh!.¢-. document entered on the dool<etlgh tlftE& `Bll‘a"tié§
'»_. "-s--dfor‘fsta)FfiC? efl » ’ i_u__-

 

Case 2:04-cv-02016-.]DB-dkv Document 55 Filed 05/13/05 Page 2 of 4 Page|D 61

mm /(. ZéA’J/%/°’

United States Bietéer%iud e
M a 7414§

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 55 in
case 2:04-CV-02016 was distributed by faX, mail, or direct printing on
May 16, 2005 to the parties listed.

 

 

Virginia M. Patterson

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/lemphis7 TN 38103

John Claude Murrow

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/lemphis7 TN 38103

Emily Turner Landry

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

1\/lemphis7 TN 38103

W. Tirnothy Hayes

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/lemphis7 TN 38103

Chad D. Graddy

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

1\/lemphis7 TN 38103

Alan 13. Easterly

LEITNER WILLIAMS DOOLEY & NAPOLITAN
801 Broad St.

Third Floor

Chattanooga, TN 37402--262

Case 2:04-cv-02016-.]DB-dkv Document 55 Filed 05/13/05 Page 4 of 4 Page|D 63

John Randolph Bibb

BAKER DONELSON BEARMAN & CALDWELL
211 Comrnerce St.

Ste. 1000

Nashville, TN 37201

Honorable .l. Breen
US DISTRICT COURT

